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      'AD 2458 (CASD) (Rev 4114) Judgment in a Criminal Case                                                                   FILED
                 Sheet 1

                                                                                                                               UUIV    t.   1   LU IU


                                               UNITED STATES DISTRICT COUR ' :>OUTHERN
                                                                             { CLER!<., uS D5iHICT C00;rr
                                                                                        DiSTRICT OF C"L:FORNIA
                                                                                                                     BY                                 DE?ViY
                                                   SOUTHERN DISTRICT OF CALIFORNIA

                      UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                           (For Ofienses Committed On or After November 1, 1987)

                             RICHARD ZAVALA, JR.                                      Case Number: 16CR0532-W

                                                                                      Matthew C Binninger, Federal Defenders Inc.
                                                                                      Defendant's Attorney
     REGISTR4TION NO. 52195298

     D
     THE DEFENDANT:
      181pleaded guilty to count(s) ONE OF THE INFORMATION

      D     was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s);
                                                                                                                                                 Count
      Title & Section                         Nature ofOtTense                                                                                  Numberls)
8 USC 1324(a)(l)(A)(ii) &              TRANSPORTATION OF CERTAIN ALIENS FOR FINANCIAL GAIN AND                                                      1
(v)(II) and (a)( I )(B)(i)             AIDING AND ABETTING




         The defendant is sentenced as provided in pages 2 through                4          of this judgment The sentence is imposed pursuant
  to the Sentencing Reform Act of 1984.
  D The defendant has been found not guilty on count(s)
                                                             -----------------------------
  D Count(s)___________________________ is DareD dismissed on the motion of the United States.
  181 Assessment: $100.00

  ~ Fine waived                                      D   Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ _ , included herein.
        IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lfordered to pay restitution, the
  defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                                JUNE 27, 2016
                                                                               Date of Imposition of Sentence




                                                                              HON. THOMASJ. W
                                                                               UNITED STATES DIST

                                                                                                                                                    16CR0532-W
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AO 2458 (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 -Imprisonment
                                                                                                Judgment - Page _..;;2_ of        4
 DEFENDANT: RICHARD ZAVALA, JR.
 CASE NUMBER: 16CR0532-W
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         EIGHTEEN (18) MONTHS




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    ~ The court makes the following recommendations to the Bureau of Prisons:
         That the defendant serve his custodial sentence in a south western region facility.




    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.    Op.m.      on _ _ _ _ _ _ _ _ _ _ __
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before
                 ----------------------------------
       o as notified by the United States Marshal.

       o as notified by the Probation or Pretrial Serviees Offiee.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                   to

 at ______________ , with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                    By
                                                                         -----~DE~p~u=r~Y~lm~IT~ED~ST~A~T~ES~MA~R~S~H~A~L-------




                                                                                                                             16CR0532-W
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AO 245B (CASD) (Rev. 41l 4) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                               Judgment-Page ~ of _ _4;....__
DEFENDANT: RICHARD ZAVALA, JR.                                                                        a
CASE NUMBER: 16CR0531-W
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised re lease for a term of:
THREE (3) YEARS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 8 drug tests per month during
the term of supervision. unless otherwise ordered by court.                                          -­

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection ofa DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of 2000. pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shal1 comply with ttie requirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                           16CR0532-W
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         AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                    Sheet 4 - Special Conditions
                                                                                                           Judgment-Page -L.. of _.-..:4_ __
         DEFENDANT: RICHARD ZAVALA, JR.                                                               D
         CASE NUMBER: 16CR0532.W




                                               SPECIAL CONDITIONS OF SUPERVISION
[81 Submit person, property, place of residence, vehicle, or personal effects to a search, conducted by a United States Probation Officer at a
      reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of
      release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be
      subject to searches pursuant to this condition.
o     If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o     Not transport, harbor, or assist undocumented aliens.
[81   Not loiter, or be present in locations known to be areas where gang members congregate, unless given permission by the probation officer
o     The defendant shall not illegally enter the United States of America during the term of supervised release.
[81 Not enter or reside in the Republic of Mexico without written permission ofthe Court or probation officer.
[81 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o     Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o     Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
      psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
      information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
      amount to be determined by the probation officer, based on the defendant's ability to pay.
o     Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
      officer, if directed.
o     Provide complete disclosure of personal and business financial records to the probation officer as requested.
j2g Shall not associate with any member, prospect, or associate of the PLAS gang, or any other gang, or club with a history of criminal activity,
      unless given permission by the probation officer.
o     Seek and maintain full time employment and/or schooling or a combination of both.
[81   Resolve all outstanding warrants within         60    days.
o     Complete           hours of community service in a program approved by the probation officer within
o     Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

[81 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

[81 Shall not wear or possess any paraphernalia insignia clothing photographs or any other materials associated with a gang, unless given
      permission by the probation officer.




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